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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF PUERTO RICO


  IN THE MATTER OF:

  SKYTEC, INC.,                                            CASE NO. 18-05288-ESL

  Debtor.
                                                           CHAPTER 11



      LOGISTIC SYSTEMS, INC.’S RESPONSE TO THE DEBTOR’S URGENT MOTION
      REQUESTING DISQUALIFICATION OF VOTE FILED BY LOGISTIC SYSTEMS,
                                     INC.


  TO THE HONORABLE COURT:

          COMES NOW Logistic Systems, Inc. (hereinafter “LogiSYS” or “Logistic”), by and

  through the undersigned counsels, and very respectfully presents its Response to the Debtor’s

  Urgent Motion Requesting Disqualification of Vote (the “Urgent Motion”):

                                   PRELIMINARY STATEMENT

          Debtor has proposed a Plan (the “Plan”) that, if approved, would benefit no one but

  selectively chosen creditors and the Debtor’s insiders. LogiSYS has done nothing in this case but

  exercise the rights afforded to it under the Bankruptcy Code. The Debtor, in filing its Urgent

  Motion, is attempting to circumvent the requirements of the Bankruptcy Code so that its insiders

  can remain in control and continue to use their company as a piggy bank and avoid obligations to

  LogiSYS that are due and owing. LogiSYS has objected to confirmation of the Plan because,

  among other reasons, the information that the Debtor itself has provided in this case makes clear

  that the Plan constitutes a blatant violation of the absolute priority rule.
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         By seeking to strike LogiSYS’s vote against the Debtor’s self-serving plan, the Debtor is

  desperately attempting to find a way to avoid having this Court closely examine its Plan and

  determine whether it improperly violates the rights of an impaired dissenting class. If LogiSYS’s

  vote is struck, the absolute priority rule is no longer a barrier to plan confirmation. In this

  Response, LogiSYS (a) incorporates by reference its Plan Objection (Dkt. # 132) and Disclosure

  Statement Objection (Dkt. # 131) in their entirety (b) will avoid the sort of mud-slinging that the

  Debtor has done in its Urgent Motion, 1 and (c) will make clear that the only option for this Court

  that will promote the best interests of creditors is to appoint a Trustee, as asserted in LogiSYS’s

  Motion for the appointment of a Chapter 11 Trustee being filed contemporaneously herewith.

                                LOGISTIC SYSTEMS’ RESPONSE

         1.      The right of creditors to vote to accept or reject a plan of reorganization is one of

  the most fundamental tenets of the Bankruptcy Code. For that reason, courts have recognized that

  depriving creditors of such an essential right is a drastic remedy with severe implications. See In

  re Adelphia Commc’ns, Corp., 359 B.R. 54, 61 (Bankr. S.D.N.Y. 2006) (noting the severe

  implications of vote designation). Moreover, courts have consistently recognized that designation

  of votes is the exception, not the rule, and that the party seeking to have a ballot disallowed bears

  a heavy burden of proof. See In re Kovalchick, 175 B.R. 863, 875 (Bankr. E.D. Pa. 1994) (“The

  burden on a party seeking to have a ballot disallowed is heavy.”); DISH Network Corp. v. DBSD

  N. Am., Inc. (In re DBSD N. Am., Inc.), 634 F.3d 79, 101-02 (2d Cir. 2011) (“Bankruptcy courts



         1 The ‘classic definition’ of chutzpah has been described as ‘that quality enshrined
         in a man who, having killed his mother and father, throws himself on the mercy of
         the court because he is an orphan.’

  Motorola Credit Corp. v. Uzan, 561 F.3d 123, 128 (2nd Cir. 2009) (citing Leo Rosten, The Joys
  of Yiddish 92 (1968)).


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  should employ 11 U.S.C. § 1126(e) designation sparingly, as the exception, not the rule. For this

  reason, a party seeking to designate another’s vote bears the burden of proving that it was not cast

  in good faith.”); In re The Heritage Org., L.L.C., 376 B.R. 783 (Bankr. N.D. Tex. 2007) (“The

  party seeking to have a ballot disallowed has a heavy burden of proof.”) (quoting In re Adelphia

  Commc’ns, Corp., 359 B.R. at 61).

          2.      Last year, the Ninth Circuit held that protecting a claim to its fullest is not evidence

  of bad faith at all. In Pac. Western Bank v. Fagerdala USA - Lompoc, Inc. (In re Fagerdala USA

  - Lompoc, Inc.), 891 F.3d 848 (9th Cir 2018) the Court explained several instances to differentiate

  the defense of the claims from bad faith actions and cited that bad faith is determined when the

  creditor was "not attempting to protect [its] own proper interests, but . . . w[as], instead, attempting

  to obtain some benefit to which [it] w[as] not entitled." See Figter Ltd. v. Teachers Ins. & Annuity

  Ass'n of Am. (In re Figter), 118 F.3d 635, 638-639 (9th Cir. 1997). Making reference to In re

  DBSD N. Am. Inc., 634 F.3d 79, 104(2d Cir. 2011) in Fagerdala the court also noted that bad faith

  is found when "[t]he purchasing party . . . was less interested in maximizing the return on its claim

  than in diverting the progress of the proceedings to achieve an outside benefit." The Court of

  Appeals continued noting examples of bad faith to include: a non-preexisting creditor

  "purchas[ing] a claim for the purpose of blocking an action against it," competitors purchasing

  claims to "destroy the debtor's business in order to further their own," or a debtor arranging to

  have an insider purchase claims. See Figter, 118 F.3d at 639 (citations omitted. In Fagerdala, 891

  F.3d at 856 the court emphasized that “Merely protecting a claim to its fullest extent cannot be

  evidence of bad faith. There must be some evidence beyond negative impact on other

  creditors.”




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          3.      The “good faith voting requirement set forth in § 1126(e) does not require, nor can

  it expect, a creditor to act with selfless disinterest.” In re First Humanics Corp., 124 B.R. 87, 92

  (Bankr. W.D. Mo. 1991) (citing In re Gilbert, 104 Bankr. 206, 216 (Bankr. W.D. Mo. 1989) and

  In re Federal Support Co., 859 F.2d 17, 19 (4th Cir. 1988)).

          4.      For voting purposes, “the Code assumes that parties will act in their own self-

  interest and allows them to do so.” In re DBSD N. Am., Inc., 634 F.3d at 102.

          5.      The “Supreme Court has stated that the purpose of imposing a ‘good faith’ standard

  on the voting process was to prevent the use of ‘obstructive tactics and hold up techniques’ to

  procure an unfair advantage over other creditors in the confirmation process. In re Applegate

  Property, Ltd., 133 B.R. 827, 834 (Bankr. W.D. Tex. 1991) (citing Young v. Higbee Co., 324 U.S.

  204, 210-11, 89 L. Ed. 890, 65 S. Ct. 594 (1945)).

          6.      The bad faith standard in § 1126(e) provides that “[i]f a person seeks to secure some

  untoward advantage over other creditors for some ulterior motive, that will indicate bad faith. But

  that does not mean that creditors are expected to approach reorganization plan votes with a

  high degree of altruism and with the desire to help the debtor and their fellow creditors. Far

  from it.” Figter Ltd. v. Teachers Ins. & Annuity Ass'n of Am. (In re Figter Ltd.), 118 F.3d 635,

  639 (9th Cir. 1997) (emphasis added).

          7.      “[N]o bad faith is shown when a creditor chooses to benefit his interest as a creditor

  as opposed to some unrelated interest.” Id.

          8.      “As long as a creditor acts to preserve what he reasonably perceives as his fair share

  of the debtor's estate, bad faith will not be attributed[.]” Id.




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         9.      Here, the Debtor has failed to carry its heavy burden and has not articulated a single

  justifiable basis for the striking of LogiSYS’s vote on the Plan.2

         10.     LogiSYS earned a civil judgment in federal district court against Debtor. LogiSYS

  wants to be paid. LogiSYS wants to make sure that the Debtor is held accountable for its “extreme

  misconduct” employed pre-petition. LogiSYS is not trying to obtain an unfair advantage over other

  creditors. LogiSYS instead wants to make sure that the Debtor’s equity is not permitted to maintain

  ownership of the company in violation of the absolute priority rule. In other words, LogiSYS has

  opposed confirmation because it believes the Debtor has acted in bad faith and has proposed a plan

  that is patently unconfirmable. The Plan does not provide unsecured creditors with their “fair share

  of the debtor’s estate” and, as such, LogiSYS has voted no and objected to confirmation. This is

  not bad faith. Instead, this is LogiSYS protecting the interests of the class of unsecured creditors

  and standing up to the Debtor’s “extreme misconduct.”

         11.     In the Urgent Motion, the Debtor makes numerous unsubstantiated allegations

  about LogiSYS’s pre-petition and post-petition conduct. LogiSYS responds as follows.

        I.       THE DEBTOR’S ALLEGATIONS CONCERNING LOGISYS’S PRE-
                 PETITION CONDUCT ARE ABSURD AND CONTRARY TO THE
                 DISTRICT COURT RECORD.

         12.     The Debtor’s allegations concerning LogiSYS’s pre-petition conduct are untrue,

  defamatory, and contrary to reality and the District Court’s findings.




  2 Per its terms, § 1126(e) requires “notice and a hearing.” Even though the Urgent Motion uses
  pre-petition conduct and actions taken by LogiSYS months ago, the Urgent Motion was filed only
  one business day prior to the proposed hearing. LogiSYS does not object to this Court considering
  the merits of the Urgent Motion on March 26, but notes that the Debtor has remained completely
  silent throughout the entirety of this case on alleged events that occurred months ago and LogiSYS
  consequently questions why the Urgent Motion was filed so late.

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          13.     In the Urgent Motion, the Debtor implies that LogiSYS acted in bad faith towards

  the pre-petition Debtor and relies on this purported misconduct to take away LogiSYS’s right to

  vote against the Plan.

          14.     The pre-petition litigation between LogiSYS and the Debtor has already been

  adjudicated. In that regard, the Debtor is bound by the District Court’s findings and is collaterally

  estopped from relitigating the issues decided by the District Court. See Ashe v. Swenson, 397 U.S.

  436, 443, 90 S. Ct. 1189 (1970) (“[W]hen an issue of ultimate fact has once been determined by a

  valid and final judgment, that issue cannot again be litigated between the same parties in any future

  lawsuit.”); Keystone Shipping Co. v. New England Power Co., 109 F.3d 46, 51 (1st Cir. 1997)

  (Collateral estoppel "bars relitigation of any factual or legal issue that was actually decided in

  previous litigation." (internal quotations and citations omitted)); see also Gray v. Tacason (In re

  Tacason), 537 B.R. 41, 51-52 (B.A.P. 1st Cir. 2015) (default judgments have preclusive effect

  where the defendant had " actively or substantially participated in the action" or "deliberately

  prevent[ed] resolution of it and a default judgment [was] entered against it as a sanction for

  refusing to comply with valid court orders") (citations omitted)); D'Amour v. Birchall (In re

  Birchall), 501 B.R. 142, 146, 149 (Bankr. D. Mass. 2013) (applying collateral estoppel to default

  judgment entered as a sanction for debtor's discovery misconduct when debtor actively

  participated in litigation over a substantial period).

          15.     Given the pre-petition Debtor’s “extreme misconduct” that is set forth in

  painstaking detail by the District Court, LogiSYS is surprised that the Debtor references its pre-

  petition litigation with LogiSYS. While this Court is likely well aware of the pre-petition litigation

  filed by Debtor itself, LogiSYS will highlight a few of the District Court’s findings to show how




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  absurd it is for the Debtor to assert that anything that happened pre-petition should give this Court

  a reason to strike LogiSYS’s vote against the Debtor’s plan.

         16.       In its September 12, 2018 Order (the “District Court Order”, a copy of which is

  attached hereto as Exhibit “A”)3, the District Court found as follows:

               •   “Skytec missed its first discovery deadlines by months, ignoring discovery requests

                   and rescheduling a meet and confer multiple times only to skip the meeting

                   entirely.” See District Court Order, p. 4.

               •   “Skytec has offered excuses for its shortfalls, but most ring hollow. Before delving

                   into them, it is important to note that these excuses are of the worst order. They do

                   not engage with the substance of Logistic’s claims, explain said conduct, or

                   acknowledge an iota of responsibility.” See District Court Order, p. 4.

               •   “Not only did [Skytec’s] conduct prejudice Logistic’s ability to prepare for trial, it

                   drains the resources of the parties and the court.” See District Court Order, p. 5.

               •   “Skytec’s refusal to produce highly relevant documentation provides a strategic

                   advantage.” See District Court Order, p. 6.

               •   “Skytec blatantly ignored court orders to produce the same categories of documents

                   not once but twice.” See District Court Order, p. 8.

               •   “Skytec’s misconduct leads the court to discuss not missing pieces of relevant

                   evidence but rather missing categories of evidence vital to the heart of the litigation.



  3 This Court may take judicial notice of the District Court Order and the Damages Order (defined
  below). See Kowalski v. Gagne, 914 F.2d 299, 305 (1st Cir. 1990) (“federal courts may take
  judicial notice of proceedings in other courts if those proceedings have relevance to the matters at
  hand”).

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                   Skytec’s excuses, noted above, are inadequate to mitigate the prejudice caused.”

                   See District Court Order, p. 8

               •   “Skytec’s misbehavior and obstructionism during the discovery process has been

                   extensive.” See District Court Order, p. 9.

               •   “Skytec denied Logistic access to five entire categories of evidence relevant to its

                   defenses and its counterclaims, thus preventing Logistic from building its case.

                   Logistic’s inability to argue or defend its currently pending motion for summary

                   judgment captures the impact of Skytec’s misconduct.” See District Court Order,

                   p. 9.

               •   “Skytec has committed extreme misconduct not only by flouting the district court’s

                   scheduling orders but also by willful indifference to Logistic’s attempts to

                   coordinate discovery, and persistent refusals to produce documents in its

                   possession.” See District Court Order, p. 4.

               •   “Less than a week before trial, Skytec has yet to produce the documents.” See

                   District Court Order, p. 2.

         17.       The Debtor did not seek reconsideration of this Order. Instead, it ran to this Court,

  seeking a more favorable forum to allow it to continue to attempt to use the legal system to provide

  it with a strategic advantage in avoiding its obligations owed to LogiSYS.

         18.       In its Urgent Motion, the Debtor claims that the District Court’s Order was entered

  “for reasons unbeknown to Debtor.”4 This statement is troubling, but not surprising. Indeed, the



  4Debtor was, of course, aware of the Motions. In fact, LogiSYS’s original Motion for Contempt,
  Dismissal of Complaint, and for Default Judgment on the Counterclaim filed by LogiSYS on June
  14, 2017, Civil Dkt. # 65, since it opposed the motion on June 25, 2017, Civil Dkt. # 66. After the

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  District Court noted that the Debtor (a) “blatantly ignored” its obligations in the litigation, (b)

  failed to “acknowledge an iota of responsibility”, and (c) employed “willful indifference” to the

  obligations it owed to LogiSYS.

         19.     By filing the Urgent Motion, the Debtor is attempting to have this Court revisit

  issues already decided by the District Court, which suggests that the Debtor’s pre-petition failure

  to “acknowledge an iota of responsibility” continues post-petition as well.

         20.     Additionally, this Court should note that (a) it was the Debtor that chose to file the

  lawsuit against LogiSYS; (b) LogiSYS prevailed in the litigation on each and every claim asserted

  between the parties; and (c) the District Court has determined that LogiSYS is entitled to a

  judgment against the Debtor in an amount in excess of $4.1 million dollars, which includes

  attorney’s fees and expenses in the amount of $859,962.98. A true and correct copy of the District

  Court’s Order setting LogiSYS’s judgment amount is attached hereto as Exhibit “B”.

         21.     Practically every action that LogiSYS has taken since the Debtor decided to file

  suit has been in self-defense. It was the Debtor who filed suit. It was the Debtor who tried to win

  the litigation by hiding relevant documents. It was the Debtor who “blatantly ignored court orders.”

         22.     Simply put, LogiSYS’s efforts to pursue and protect its rights, notwithstanding the

  Debtor’s “willful indifference” to its obligations and responsibilities, do not amount to bad faith.

         23.     The District Court’s order, which is binding on the Debtor, speaks for itself and

  LogiSYS will not burden this Court with further comment on the absurdity of the Debtor’s

  allegations concerning LogiSYS’s pre-petition conduct.




  Court of Appeals and the District Court exhorted the parties reach a settlement, that effort proved
  unsuccessful, and it was necessary to refile the motion on June 25, 2018, Civil Dkt. #104, and
  Debtor filed an Opposition to that motion, too, on July 16, 2018, Civil Dkt. # 128.

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       II.       THE DEBTOR’S ALLEGATIONS CONCERNING LOGISYS’S POST-
                 PETITION CONDUCT ARE ABSURD AND CONTRARY TO THE
                 BANKRUPTCY COURT RECORD.


        24.      The Debtor also alleges that LogiSYS has acted in bad faith during the pendency

  of its bankruptcy case and asserts certain purported examples of such bad faith in Paragraph 14 (a-

  g) of the Motion. With respect to LogiSYS’s post-petition conduct, the record in this case speaks

  for itself. Indeed, apart from one important exception detailed below, LogiSYS does not dispute

  the Debtor’s factual allegations contained in Paragraph 14 (a-g) of the Motion5. For the Court’s

  convenience, LogiSYS will set forth each of the Debtor’s allegations and LogiSYS’s response

  below.

        25.      LogiSYS filed a Motion for Relief on October 1, 2018. See Urgent Motion ¶ 14(a).

  This is true. In its Motion for Relief, LogiSYS made clear that it was seeking relief from the

  automatic stay “for the limited purpose of allowing the default damages hearing and request for

  prevailing party attorneys’ to proceed in the District Court.” See Dkt. # 25, p. 12 of 15. The basis

  for this request was that judicial economy would be served by allowing the District Court to fully

  liquidate LogiSYS’s claim since the “District Court has unique familiarity with the underlying

  dispute and the parties.” See Dkt. No. 25, p. 11 of 15. Indeed, LogiSYS expressly stated that

  “[a]bsent further order of this Court, LogiSYS will not enforce the judgment it seeks to obtain

  from the District Court. In that regard, lifting the stay will not result in any interference with the

  bankruptcy case.” See id.

        26.      The Court granted this Motion because, among other good reasons, “The U.S.

  District Court is familiar with all cases upon which judgment will be entered.” See Dkt. No. 56.



  5It should go without saying that LogiSYS vociferously opposes the Debtor’s assertion that any
  of these actions amount to bad faith.

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           27.   The Debtor has made no allegation that LogiSYS has violated the automatic stay

  or any order of this Court.

           28.   LogiSYS’s actions in this case concerning the automatic stay do not amount to bad

  faith.

           29.   LogiSYS requested “additional information and/or documents” after the 341

  meeting. See Urgent Motion, ¶ 14(b). LogiSYS likewise does not contest this allegation. While

  Debtor contends that LogiSYS requested additional information after the 341 meeting, it fails to

  admit that the requests were done during the 341 meetings of creditors with the US Assistant

  Trustee’s officer intervention setting the response date and with the purpose to validate Debtor’s

  officers’ testimonies related to the insufficient explanations of the numbers disclosed in the

  schedules and the Statement of Financial Affairs. The written requests were sent upon agreement

  at the three (3) 341 meetings summarizing the oral requests at each meeting.

           30.   LogiSYS’s reasoning for requesting “additional information and/or documents”

  from the Debtor should be abundantly clear to this Court. Without belaboring the point, the District

  Court entered an order of default against the Debtor for its failure to engage in discovery and

  withholding of relevant documents in the case. LogiSYS naturally wanted to review the Debtor’s

  documents. When the statement of financial affairs reflects disbursements to the rest of the

  creditors in amounts around $2,125,778.75 within the 90 days prior to the filing of the petition,

  none of which become creditors at the time of the filing; and, also indicates around $761,330.98

  in disbursements for the benefit of insiders within the year prior to the filing (while litigation was

  ongoing and in preparation for trial), it is reasonable that the only creditor to the estate will want

  to examine all the records.




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        31.      While the Debtor is using the disqualification motion to complain about the

  discovery performed, it also failed to admit that the information requested was used for the

  preparation of the schedules, the disclosure statement and the plan of reorganization. LogiSYS’s

  request was no more than the backup documentation of the disclosed information. True to the fact

  is that the requested “additional” information clarified the true purpose of certain expenses

  incurred by the debtor for the only benefit of the insiders. Expenses such as the mortgage payments

  for a property owned by Mr. Barreda, hidden as operational payments, and then reclassified as

  compensation; cars purchased by the corporation for the use and benefit of shareholders or a spouse

  who do not work for the company, payments of the student loan of the grown son lawyer of an

  independent contractor, salaries paid in excess of the national standards, and so forth. LogiSYS

  indeed requested documents from the Debtor and LogiSYS is not surprised that the Debtor has

  taken issue with LogiSYS’s efforts to discover information about the Debtor.

        32.      The Debtor refused to engage in discovery pre-petition (giving rise to the District

  Court’s order and judgment) and unsurprisingly, has taken issue with LogiSYS’s discovery efforts

  in this bankruptcy.

        33.      The Debtor never objected to the requests made after the § 341 meeting and never

  sought a protective order from this Court. Yet, the Debtor now tries to assert that LogiSYS’s

  request for “additional information and/or documents” amounts to bad faith.

        34.      LogiSYS’s post-petition efforts to obtain “additional information and/or

  documents” from the same entity that engaged in pre-petition “misbehavior and obstructionism

  during the discovery process” does not amount to bad faith.

        35.      LogiSYS objected to the Cash Collateral Stipulation. See Urgent Motion, ¶ 14(c).

  LogiSYS does not contest this allegation either. LogiSYS must emphasize to this Court, however,



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  that it has never objected to the Debtor’s use of cash collateral but has only objected to what it

  feels are unnecessary concessions being granted to Oriental Bank that work to the detriment of the

  bankruptcy estate. See Dkt. # 71, p. 17 of 19 (“LogiSYS has no objection to Oriental being

  provided with monthly payments in the amount provided by the underlying Loan Documents and

  with the right to require cash collateral be deposited into a segregated account, but strenuously

  objects to every single other concession proposed by the Debtor in the Cash Collateral

  Stipulation”).

        36.        LogiSYS’s objection to the Cash Collateral Stipulation (Dkt. # 67) was not filed to

  prevent the Debtor from operating or otherwise using its cash; instead, it was filed because the

  “Debtor appears to be ignoring its fiduciary duties to unsecured creditors[.]” See Dkt. # 71, p. 14

  of 19. LogiSYS does not understand, and the Debtor has provided no explanation, how its

  objection to the Cash Collateral Stipulation amounts to bad faith, more so when the discovered

  information reveals that Oriental have remained adequately protected through the bankruptcy

  process.

        37.        LogiSYS filed Rule 2004 Motions. See Urgent Motion, ¶ 14(d). LogiSYS does not

  contest this allegation and Debtor has not explained how the Rule 2004 Motions, and the resulting

  examinations, constitute bad faith. LogiSYS followed the rules. It filed Motions seeking Court

  authority to permit it to take Rule 2004 examinations. These motions were granted and authority

  was granted.6 The Debtor never objected to these motions. As stated throughout, LogiSYS’s efforts

  to utilize the discovery process do not constitute bad faith.




  6 Oriental Bank filed a motion to reconsider the order granting LogiSYS’s Rule 2004 Motion
  concerning Oriental Bank. Counsel for LogiSYS and Oriental Bank were able to meet, confer, and
  agree on the scope of the Oriental Bank 2004 examination.

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        38.      LogiSYS voted against Plan confirmation, objected to the Disclosure Statement,

  and objected to confirmation of the Plan. See Urgent Motion, ¶¶ 14(e-g). With one important

  exception, LogiSYS does not contest these allegations. The reasons for LogiSYS’s vote and

  opposition to the Disclosure Statement and Plan are self-explanatory and set forth in Dkt. ## 131

  and 132.

        39.      Without providing a single example, the Debtor incorrectly asserts that LogiSYS’s

  Plan objection contains “false statements[.]” LogiSYS must emphasize to this Court that all factual

  statements made in its Plan Objection come from the Disclosure Statement, the Plan, the Debtor’s

  Monthly Operating Reports, Rule 2004 examinations, the Debtor’s Schedules and Statement of

  Financial Affairs, or communications from Debtor’s counsel. In other words, these allegations

  came from statements made by or on behalf of the Debtor and/or Oriental Bank. While the Debtor

  may take issue with the LogiSYS’s interpretation of the information provided by the Debtor, it

  does not mean that the factual allegations upon which these interpretations are derived are

  incorrect.

         40.     The Debtor is correct that the parties have had “a very litigious history” with each

  other to the extent that it refers to the lawsuit it filed and lost. However, it has pointed to nothing

  improper done by LogiSYS or provided any suggestion of bad faith. LogiSYS wants to be paid

  the over $4.1 million that the Debtor owes it pursuant to a federal district court judgment. As

  outlined in its Plan Objection, LogiSYS views the Plan as an attempt by the Debtor’s equity to

  retain ownership of the company while paying the dissenting class of unsecured creditors

  practically nothing. The very figures advanced by the Debtor in its liquidation analysis show a

  clear violation of the absolute priority rule. While LogiSYS has indeed pursued its legal rights




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  and remedies in this case, it has taken no action in this case that has not been authorized by

  this Court and/or the Bankruptcy Code.

         41.     The Debtor knows that if its Urgent Motion is granted, there no longer will be a

  dissenting impaired class. Consequently, the absolute priority rule would no longer be applicable.

  See 11 U.S.C. § 1129(b)1) (noting that absolute priority rule only applies when a class of claims

  is impaired and dissents). In that regard, this Urgent Motion appears to be yet another attempt by

  the Debtor’s insiders to favor themselves over the company’s unsecured creditors. But Debtor’s

  arguments fall short from complying with the heavy burden of proof imposed in a request for

  designation of claims. Just as the District Court found the pre-petition Debtor’s conduct to be

  wholly inappropriate,7 this Court should likewise deny the Urgent Motion and appoint a Chapter

  11 Trustee so that there is finally someone in charge of the Debtor who will actually “acknowledge

  and iota of responsibility[.]”

                  III.   LOGISTIC SYSTEMS’ PROPOSED PROCEDURE

         42.     At the hearing on March 26, 2019, this Court should consider only the conditions

  upon which the Debtor should be permitted to continue to use cash collateral on an interim basis.

         43.     The Court should postpone any consideration of approval of the Disclosure

  Statement or confirmation of the Plan until the Court has considered whether to appoint a Chapter

  11 Trustee.




  7 Debtor’s motion is reminiscent of similarly untimely and baseless motions filed by Skytec in the
  District Court on the eve of trial, after LogiSYS’s Motion for Contempt was already submitted for
  resolution in the District Court. See, Skytec’s Motion for Contempt, for Sanctions, and for Default
  Judgment (filed on September 3, 2018, two months after the dispositive motions schedule had
  passed), Civil Dkt. # 156, and Motion for Rule 11 Sanctions (filed two days before the Pretrial
  Conference), Civil Dkt. #151.

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         44.     With the filing of the Plan, LogiSYS believes that it is now abundantly clear that

  the Debtor is acting in its own self-interest, looking to elevate the interests of its equity holders

  over the Debtor’s unsecured creditors. This is not permitted under the Bankruptcy Code and a

  trustee should be appointed so that someone will actually be acting in the best interests of creditors.

                                            CONCLUSION

         WHEREFORE, LogiSYS respectfully requests from this honorable court to deny the

  Urgent Motion for the reasons set forth herein.

         Respectfully submitted on this 25th day of March, 2019.

                                                         s/ CARLOS A. RODRIGUEZ VIDAL
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                                                         s/ SOLYMAR CASTILLO MORALES
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this same date I electronically filed the foregoing document

  with the Clerk using CM/ECF system, which will send notification of such filing to Debtor(s)

  attorney, the US Trustee and to all CM/ECF participants.

         Respectfully submitted on this 25th day of March, 2019.

                                                     s/ CARLOS A. RODRIGUEZ VIDAL
                                                     Carlos A. Rodríguez-Vidal
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